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                EXHIBIT 31
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                                                                                                            mwe.com

                                                                                                     Mark Patterson
                                                                                                     Attorney at Law
                                                                                              mpatterson@mwe.com
                                                                                                   +1 214 295 8075


June 7, 2021

Kornbluth Texas, LLC                 VIA FED EX; CERTIFIED MAIL,
302 W. Bay Area Blvd.                RETURN RECEIPT REQUESTED; AND
Webster, Texas 77598                 FACSIMILE: (281) 335-6723
Attention: Cheryl Tyler

                               ACCELERATION OF DEBT

Re:    Matter:              Holiday Inn Webster
                            302 West Bay Area Boulevard
                            Webster, Texas 77598
       Loan Number:         M300571612
       Pool:                WFCM 2016-LC25

Dear Borrower:

As previously communicated to you, this firm represents WILMINGTON TRUST,
NATIONAL ASSOCIATION, AS TRUSTEE FOR THE BENEFIT OF THE
REGISTERED HOLDERS OF WELLS FARGO COMMERCIAL MORTGAGE TRUST
2016-LC25, COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2016-LC25 (“Holder”), acting by and through its special servicer, LNR Partners, LLC
(“Servicer”), in connection with the loan (the “Loan”) evidenced by, inter alia, the documents
and instruments described as follows:

       Promissory Note (the “Note”), dated as of October 21, 2016, executed by KORNBLUTH
       TEXAS, LLC, a Texas limited liability company (“Borrower”), payable to the order of
       RIALTO MORTGAGE FINANCE, LLC, a Delaware limited liability company
       (“Original Lender”), in the original stated principal amount of EIGHT MILLION
       THREE HUNDRED FIFTY THOUSAND AND NO/100 DOLLARS ($8,350,000.00);
       and

       Secured and/or evidenced by, among other documents, instruments and things, (i) that
       certain Deed of Trust, Assignment of Leases and Rents and Security Agreement (the
       “Deed of Trust”), dated as of October 21, 2016, executed by Borrower for the benefit of
       Original Lender, and covering the real and personal property more particularly described
       therein, commonly known as Holiday Inn Webster and described therein as being located
       at 302 Bay Area Boulevard, Webster, Texas (collectively, the “Property”), recorded on
       October 25, 2016, as Instrument Number RP-2016-481294, in the Official Public Records
       of Harris County, Texas (the “Records”); (ii) that certain Assignment of Leases and
       Rents (the “Assignment”), dated as of October 21, 2016, executed by Borrower for the
       benefit of Original Lender, recorded on October 25, 2016, as Instrument Number RP-



                              2501 North Harwood St Suite 1900 Dallas TX 75201 Tel +1 214 295 8000 Fax +1 972 232 3098

                              US practice conducted through McDermott Will & Emery LLP.
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       2016-481295, in the Records; and (iii) that certain Loan Agreement (the “Loan
       Agreement”), dated as of October 25, 2016, executed by Borrower and Original Lender.

       The Note, Deed of Trust, Assignment and Loan Agreement and all other documents and
       instruments securing and/or evidencing the Loan, as the same may have been amended,
       increased, renewed, extended, spread, consolidated, severed, restated or otherwise
       changed from time to time, are hereinafter, collectively, referred to as the “Loan
       Documents”. All capitalized terms used herein and not otherwise defined herein shall
       have the meanings set forth in the Loan Agreement.

The Note and the liens and security interests of the Deed of Trust and all other Loan Documents
were transferred and assigned to, and are currently held by, Holder.

As you know, by letter to Borrower April 23, 2021 (the “April 23 Notice of Default With Intent
to Accelerate Letter”, Borrower was notified that it is in default under the terms of the Note and
other Loan Documents in that, among other things, Borrower had failed to make the Monthly
Debt Service Payment Amounts that were due on the Payment Dates in December, 2020 and
January through April, 2021 (as defined therein, the “Payment Defaults”). Further, the April 23
Notice of Default With Intent to Accelerate Letter demanded payment of all such amounts then
owing under the Note and the other Loan Documents, and Borrower was advised that if, by the
date and time set forth therein, Borrower did not cure the Payment Defaults, Holder intended to
and would accelerate the maturity of the Note and declare the unpaid principal balance, accrued
and unpaid interest and all other amounts due and payable under the Loan Documents
immediately due and payable in their entirety. Borrower was further advised that, in that event,
Holder intended to exercise any and all of the remedies provided in the Loan Documents or at
law or in equity. As of the date of this letter and according to the records of Holder and Servicer,
Borrower has not cured the Payment Defaults and continues to be in default for, among other
things, the failure to make payment of all sums due and payable under the Loan Documents.
Moreover, Borrower is further notified that it has failed to make the Monthly Debt Service
Payment Amount that was due on the Payment Date occurring in May 2021. The April 23
Notice of Default With Intent to Accelerate Letter also notified Borrower that a UCC Financing
Statement had appeared to have been filed on July 9, 2020, and Holder made certain demands for
documentation evidencing same. As of the date of this letter, such documentation has not been
received. None of the defaults referenced in the foregoing is intended to be an exhaustive list of
all present defaults of Borrower under the Loan Documents. Other Events of Default or uncured
events of default may also exist. These failures, including, without limitation, the Payment
Defaults, continue and have not been waived by Holder and are referred to herein, collectively
with the Payment Defaults, as the “Current Defaults”. Borrower is further advised of Holder’s
continuing expectation that Borrower strictly comply with all of the terms and conditions of the
Loan Documents and of Holder’s intent that it will exercise its rights and remedies under the
Loan Documents, including, without limitation, the remedies described in the following
paragraph.
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Accordingly, based on Borrower’s continuing failure to cure the Payment Defaults, Holder,
pursuant to its right under the Loan Documents, has accelerated the Note’s maturity and hereby
declares the entire indebtedness evidenced by the Loan Documents immediately due and
payable. On behalf of Holder, this letter is formal notice to you of such acceleration and demand
that Borrower pay immediately all of the outstanding principal and accrued and unpaid interest
(including, without limitation, interest due at the Default Rate under the Note [as set forth in and
calculated under the Note (and Loan Agreement)], in its entirety, together with all applicable
charges (including, without limitation, all late payment charges as described in Section 2.2.4 of
the Loan Agreement) and all costs, expenses and attorneys’ fees incurred by Holder in
connection with the collection of the indebtedness evidenced by the Note, and any other amounts
lawfully due and payable under the terms of the Loan Documents.

In addition to the defaults referenced above, Holder has also become aware of the following:

Pending suit under Cause No. 2018-76577/Court: 133 in the District Court of Harris
County, Texas, styled Kornbluth Texas, LLC, Plaintiff and Sunny Capital Management,
L.P., Wellsfargo Capital Management, L.L.C., Chao Chen, Jack Chen and Yueh Yun
Chuang, Defendants. This appears to be a breach of contract dispute filed by Borrower
regarding the prior owner’s failure to comply with a Property Improvement Plan (the “PIP”)
issued by Holiday Inn, which the prior owner agreed to do in an amended purchase and sale
agreement for the Property. Borrower alleges that it had to complete the PIP at its expense. The
petition further alleges that the prior owner received some revenues to which it was not entitled.
Borrower’s prayer includes damages and other relief. Holder hereby demands a full explanation
and status of this lawsuit. Further, Holder requests Borrower’s consent for Holder to
communicate with Borrower’s counsel regarding same. For avoidance of all doubt, Borrower is
hereby put on notice that Borrower is not authorized to use any cash flow from the Property to
fund this litigation and any such use without Holder’s consent shall represent one or more
defaults under the Loan Documents (and, potentially, recourse liability).

Suit for non-payment of taxes District Court Cause No: 2020-69733 County/State: Harris
County, Texas; Plaintiff: Harris County, Texas and Houston Sports Authority; Defendant:
Kornbluth Texas, LLC d/b/a Holiday Inn Webster (original petition attached hereto as
Annex A). This appears to be a lawsuit filed by Harris County, Texas, and Houston Sports
Authority alleging Borrower’s non-remittance of the County Hotel Occupancy Taxes due the
Harris County Sports Authority and, as a result of such non-remittance, an application for
temporary injunction and permanent injunctions. From a review of the docket (and the attached
in Annex A), it appears a default judgment was entered in favor of Harris County. Although
Harris County requested an injunction against Borrower that would, in effect, have shut-down
Borrower’s continued use and operation of the Property, the threat is definitely imminent and
would, if so ordered by the judge, represent one or more defaults and/or Events of Default under
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the Loan Documents. 1 Nevertheless, failure to remit taxes is a breach of, inter alia, Section 4.1.2
of the Loan Agreement. 2 Further, Borrower has breached Section 4.1.5 because it has failed to
keep Holder informed of the lawsuit. 3

As a result of such failures and as described in the April 23 Notice of Default With Intent to
Accelerate Letter (and pursuant to its rights and remedies under the Loan Documents), Holder
continues to reserve the right to exercise, in such order as Holder elects, one or more of the
remedies available to Holder pursuant to the Loan Documents or otherwise at law or in equity
(including, without limitation, commencing non-judicial foreclosure proceedings pursuant to the
power of sale provisions under the Deed of Trust and actions for the immediate appointment of a
receiver to, among other things, take over management and collect the income from the
Property), and nothing contained in this letter shall constitute a waiver of any rights of Holder to
pursue such rights and remedies. Borrower is further advised that no past or future delay or
omission in the exercise of any right or remedy to Holder as a result of any default is intended to
constitute a waiver of any right or remedy to Holder as a result of that default or any other
default.

Payment to Holder in an amount less than the total sums due, or any other partial cure of the
Current Defaults, should not be construed as an accord and satisfaction or as Holder’s agreement
to accept a lesser amount as payment in full of the total sums due or such partial cure. Holder’s
acceptance of any endorsement or statement on any check evidencing a payment or letter
accompanying a payment may not be deemed to be an accord and satisfaction. Holder may
accept any such payment or check without prejudice to its rights to receive the balance of all

          1
            For example, Section 4.1.1(a) of the Loan Agreement states that “(a) Borrower will continuously maintain
its existence and its rights to do business in the State together with its franchises and trade names, and will keep in
full force and effect all material licenses, permits and applicable governmental authorizations necessary for the
continued use and operation of the Property” (emphasis added).
          2
            Section 4.1.2 of the Loan Agreement states, in part, “Borrower shall pay all Taxes and Other Charges now
or hereafter levied or assessed or imposed against the Property or any part thereof as the same shall become due and
payable (provided, however, Borrower's obligation to directly pay Taxes shall be suspended for so long as Borrower
complies with the terms and provisions of Section 6.3).” Section 7.1.(ii) of the Loan Agreement states that it shall be
an Event of Default “if any of the Taxes or Other Charges is not paid prior to the date the same becomes delinquent
except to the extent sums sufficient to pay such Taxes and Other Charges have been deposited with [Holder] in
accordance with the terms of this Agreement”. No such deposits were made to Holder and Borrower has not
complied with Section 6.3 of the Loan Agreement (re cash management).
          3
            Section 4.1.5 of the Loan Agreement states, in part, that “Borrower shall give prompt notice to [Holder]
of any litigation . . . pending or threatened in writing against the Property, Borrower . . if, adversely determined, is
reasonably likely to have a Material Adverse Effect.” The definition of “Material Adverse Effect” in Section 1.1.1
of the Loan Agreements includes “any material adverse effect upon (i) the business, operations, economic
performance, assets, condition (financial or otherwise) . . . of Borrower . . or the Property, (ii) the ability of
Borrower . . to perform its obligations under any Loan Document to which it is a party . . or (iv) the value, use or
operation of the Property or the cash flows from the Property.” The threat of an injunction where Borrower could
not legally operate the hotel satisfies the definition of Material Adverse Effect.
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amounts due under the Loan Documents or to pursue any remedy thereunder or at law or in
equity.

None of this notice, any past, prior or current discussions by Holder or its servicers (including
Servicer) with Borrower or its representatives, Holder’s acceptance of payment of less than the
full amount due and payable nor any other partial cure of the Current Defaults under the Loan
Documents, shall constitute (a) a waiver by Holder of any other default by Borrower under the
Loan Documents, whether or not referred to herein or in any prior notice of default, (b) a waiver
by Holder to collect any additional amounts or demand any other action to which Holder may be
lawfully entitled pursuant to the terms of the Loan Documents or otherwise at law or in equity,
(c) an election of remedies with respect to any such default by Holder, (d) a waiver, modification,
relinquishment or forbearance by Holder of any right or remedy under the Loan Documents or at
law or in equity, all of which are reserved by Holder, (e) a modification of any of the Loan
Documents, (f) a reinstatement of the Loan, or (g) an agreement by Holder to continue
discussions with Borrower or its counsel.

No modification of the Loan Documents and no other agreement or understanding of any nature
shall be deemed to have been entered into by or be binding on Holder unless and until Holder has
reached agreement on all issues, and such entire agreement shall have been reduced to a written
document that expressly states that it modifies the Loan Documents and is duly executed by
Holder, Borrower and any guarantor(s) of the Loan. Oral agreements, e-mails, memoranda of
meetings, summaries of proposed terms, etc. shall have no effect whatsoever and shall not be
binding on Holder.

No communication, written or oral, that Borrower has had or may have with Holder concerning
the obligations evidenced or secured by the Loan Documents, including any concerning a
modification or restructure of the Loan Documents or a forbearance in the exercise of any of
Holder’s remedies, in any way modifies this letter or constitutes consent to the non-payment or a
waiver of any of the remedies described herein. There are currently no forbearance,
modification, renewal, extension or settlement agreements between Borrower and Holder with
regard to the Loan or the Loan Documents, and all proposals made by Borrower to Holder
relating to the foregoing are rejected.

The following language is set forth per requirement under Section 51.002(i) of the Texas
Property Code, and applicable if debtor qualifies under such Section:

ASSERT AND PROTECT YOUR RIGHTS AS A MEMBER OF THE ARMED FORCES
OF THE UNITED STATES. If you are or your spouse is serving on active military duty,
including active military duty as a member of the Texas National Guard or the National
Guard of another state or as a member of a reserve component of the armed forces of the
United States, please send written notice of the active duty military service to the sender of
this notice immediately.
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To the extent that any of Borrower’s obligations have been discharged, dismissed, or are subject
to an automatic stay of a bankruptcy order under Title 11 of the United States Code, this notice is
for compliance and information purposes only, and does not constitute a demand for payment or
any attempt to collect any such obligation. To the extent applicable, this notice is given pursuant
to, and is intended to comply with, 11 U.S.C. § 362(b)(11). In addition, all of Holder’s claims,
demands and accruals with respect to the Loan Documents, whenever made, and whether for
principal, interest or otherwise, are intended to comply in all respects, both independently and
collectively, with all applicable usury laws, and are accordingly limited so that all applicable
usury laws are not violated.

Very truly yours,

MCDERMOTT WILL & EMERY LLP




By:
       Mark L. Patterson



cc:    Scott Fishkind (via email – sfishkind@lnrpartners.com)
       Massimo Fillichio (via email – MFillichio@lnrpartners.com)
       Heather Olson (via email – holson@starwood.com)
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                            FOR INFORMATIONAL PURPOSES ONLY



William Kornbluth, Guarantor         VIA FED EX; AND CERTIFIED MAIL,
57444 Bandera Road                   RETURN RECEIPT REQUESTED
Yucca Valley, California 92284

Cheryl Tyler Guarantor               VIA FED EX; AND CERTIFIED MAIL,
302 W. Bay Area Boulevard            RETURN RECEIPT REQUESTED
Webster, Texas 77598

Garvey Schubert Barer                VIA FED EX; CERTIFIED MAIL, RETURN
121 SW Morrison, 11th Floor          RECEIPT REQUESTED;
Portland, Oregon 97204-3141          AND FACSIMILE: (503) 226-0259
Attention: Joseph W. West, Esq.
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